                       Case 1:21-cr-00142-CJN Document 1 Filed 01/20/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                     Samuel J. Fisher                                )      Case No.
                                                                     )
                  AKA: Brad Holiday                                  )
                                                                     )
         'DWHRI%LUWK;;;;;;;;                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description

             18 U.S.C. § 1752(a)(1) and 1752(a)(2) - Unlawful Entry on Restricted Grounds;
             40 U.S.C. § 5104(e)(2)(D) - (Disorderly Conduct on Restricted Grounds)




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                 KATHERINE ANGULO, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                            2021.01.20
Date:             01/20/2021
                                                                                                            06:51:06 -05'00'
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          Zia M. Faruqui, U.S. Magistrate Judge
                                                                                               Printed name and title
